                                                             Page 1
 1                    UNITED STATES DISTRICT COURT

 2                NORTHERN DISTRICT OF CALIFORNIA

 3                      SAN FRANCISCO DIVISION

 4   IN RE TESLA, INC. SECURITIES) Case No.
     LITIGATION                  ) 3:18-cv-04865-EMC
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10                           CONFIDENTIAL

11                ORAL AND VIDEOTAPED DEPOSITION OF

12                             ELON MUSK

13                      NOVEMBER 5, 2021
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15       ORAL AND VIDEOTAPED DEPOSITION OF ELON MUSK,

16   produced as a witness at the instance of the Plaintiff,

17   and duly sworn, was taken in the above-styled and

18   numbered cause on November 5, 2021, from 10:32 a.m. to

19   8:04 p.m., before Candice Andino, Certified Shorthand

20   Reporter in and for the State of Texas, reported by

21   machine shorthand, at Armbrust & Brown, PLLC, 100

22   Congress Avenue, Suite 1300, Austin, Texas, pursuant to

23   Notice and in accordance with the Federal Rules of Civil

24   Procedure.

25   JOB NO. 202221
